                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          No. 3:12-00013
                                               )          JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                    )

                                           ORDER

       The Court held a status conference in this case on November 29, 2012. At the

conference, the Court set an evidentiary hearing on Defendant Jatavius Sanders’ Motion to

Suppress Alleged Statements By Defendant (Docket No. 254) for December 13, 2012, at 10:00

a.m. The Court also set oral argument for December 13, 2012, at 10:00 a.m. on Defendant

Angela Whitson’s Motion To Dismiss Count 5 For Lack Of Federal Jurisdiction (Docket No.

239), Defendant Manila Vichitvongsa’s Motion To Dismiss Counts One And Five And To

Require Mandatory Election Of Offenses Between Counts Two And Four And Counts Six And

Eight (Docket No. 243), Defendant Jessica Parker’s Motion To Dismiss Count One Of The

Indictment (Docket No. 246), and Defendant Jatavius Sanders’ Motion To Dismiss For Lack Of

Jurisdiction (Docket No. 256).

       The Court also granted the Government’s request for a one-day extension of time, to

November 30, 2012, to respond to the pending motions.

       It is so ORDERED.



                                                   _________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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